              Case 2:11-cr-00514-TLN Document 427 Filed 06/14/18 Page 1 of 2




 1   ROBERT M. WILSON (SBN 122731)
     LAW OFFICES OF ROBERT M. WILSON
 2
     770 L Street, Suite 950
 3   Tel. (916) 441-0888
     Fax (916) 927-0701
 4   E-Mail: RWilson@BusinessCounsel.net
 5
     Attorney for Defendant
 6   AHMED CHARTAEV

 7

 8
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10

11

12
     UNITED STATES OF AMERICA,                         )       No. 2:11-CR-00514 TLN
13                                                     )
            Plaintiff,                                 )       STIPULATION REGARDING
14                                                     )       TERMINATION OF PRETRIAL
     v.                                                )       SUPERVISION; [PROPOSED] FINDINGS
15                                                     )       AND ORDER
     AHMED CHARTAEV,                                   )
16   NICHOLAS VOTAW,                                   )
     HAKOB SERGOYAN,                                   )
17   STANSLAV SARBER,                                  )
     SERGEY SHCHIRSKY,                                 )
18   MAGOMED ABDUKHALIKOV, and                         )
     ANTON TKACHEV,                                    )
19                                                     )
            Defendants.                                )
20                                                     )
                                                       )
21
                                              STIPULATION
22
            IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
23
     Attorney, through Heiko Coppola, Assistant United States Attorney, attorney for Plaintiff, and
24

25   Robert M. Wilson, attorney for defendant Ahmed Chartaev, that Mr. Chartaev’s pre-trial

26   supervision should be terminated and that he should remain out of custody on the presently set
27
     $75,000 unsecured appearance bond. As a condition of her pretrial release, Mr. Chartaev shall
28
     comply with all federal, state, and local laws.

                                                           1
              Case 2:11-cr-00514-TLN Document 427 Filed 06/14/18 Page 2 of 2



            Pretrial Services indicates Mr. Chartaev has done exceedingly well on supervision. On
 1

 2   December 9, 2011, the Court ordered Mr. Chartaev released on conditions of pretrial supervision

 3   and a $75,000 unsecured appearance bond. (Doc. Nos. 19 and 20.) Mr. Chartaev has remained on
 4
     pre-trial supervision since that time without incident. Based on the foregoing, the parties
 5
     stipulate that Mr. Chartaev pre-trial supervision should be terminated, he be ordered released on
 6

 7
     the presently set $75,000 unsecured appearance bond, and that condition number eight should

 8   remain in effect.
 9          IT IS SO STIPULATED.
10   Dated: June 13, 2018                                   U.S. ATTORNEY
11                                                          by:    // Robert M. Wilson for
                                                                   HEIKO P. COPPOLA
12                                                                 Assistant U.S. Attorney
                                                                   Attorney for Plaintiff
13
     Dated: June 13, 2018                                          /s/ Robert M. Wilson __
14                                                                 ROBERT M. WILSON
                                                                   Attorney for Defendant
15                                                                 AHMED CHARTAEV
16

17

18
                                       ORDER
19          IT IS HEREBY ORDERED, the Court, having received, read, and considered the

20   parties' stipulation, that pre-trial supervision be terminated, that he remain released on the
21
     presently set $75,000 unsecured appearance bond, and that condition number eight of his
22
     conditions of pre-trial release, concerning his passport, shall remain in effect. As a condition of
23

24
     his pretrial release, Mr. Charaev shall comply with all federal, state, and local laws.

25
     Dated June 14, 2018                    _____________________________________
26                                          HON EDMUND F. BRENNAN
27
                                            United States Magistrate Judge

28



                                                       2
